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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    2300 Tulare Street, Suite 330
     Fresno, California 93721
3    Telephone: (559) 487-5561
     heather_williams@fd.org
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8                              IN THE UNITED STATES DISTRICT COURT
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                  ) Case No. 1:21-CR-00184 DAD-BAM-6
                                                 )
11               Plaintiff,                      )
                                                 ) APPLICATION AND ORDER APPOINTING
12    vs.                                        ) CJA PANEL COUNSEL
                                                 )
13    TONISHA BROWN,                             )
                                                 )
14               Defendant,                      )
                                                 )
15
16           Defendant Tonisha Brown, through the Federal Defender for the Eastern District of

17   California, hereby requests appointment of CJA Panel counsel. The Federal Defender has a

18   conflict.

19           On December 16, 2021, a Superseding Indictment was issued in the above captioned

20   case. Ms. Brown had her initial appearance on the allegations in the Central District of California

21   on February 11, 2022, at which time that Court appointed counsel and ordered she be released.

22   We request this Court appoint counsel in the Eastern District of California in advance of

23   arraignment to facilitate her appearance in this District on her pending felony charges.

24           Ms. Brown submits the attached Financial Affidavit as evidence of her inability to retain

25   counsel at this time. After reviewing Ms. Brown’s Financial Affidavit, we respectfully

26   recommend CJA panel counsel be appointed.

27           DATED: February 15, 2022                    /s/ Heather E. Williams
                                                  HEATHER E. WILLIAMS
28                                                Federal Defender

     United States v. Tonisha Brown                   1                 Application and [Proposed] Order
     Case No. 1:21-cr-00184-DAD-BAM                                       Appointing CJA Panel Counsel
     Case 1:21-cr-00184-TLN-BAM Document 100 Filed 02/15/22 Page 2 of 2


1                                              ORDER
2           Having satisfied the Court that the defendant Tonisha Brown is financially unable to
3    retain counsel, the Court hereby appoints CJA panel counsel pursuant to 18 U.S.C. § 3006A.
4
     IT IS SO ORDERED.
5
6       Dated:    February 15, 2022                         /s/ Barbara A. McAuliffe               _
                                                        UNITED STATES MAGISTRATE JUDGE
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     United States v. Tonisha Brown                 2                 Application and [Proposed] Order
     Case No. 1:21-cr-00184-DAD-BAM                                     Appointing CJA Panel Counsel
